               UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN

 WILLIE JAMES NEWMAN,

                            Plaintiff,
 v.                                                   Case No. 15-CV-1363-JPS

 MICHAEL VAGNINI, JACOB KNIGHT,
 JEFFREY CLINE, JEFFREY DOLLHOPF,
 BRIAN KOZELEK, PAUL MARTINEZ,
 EDWARD A. FLYNN and
 CITY OF MILWAUKEE,                                                    ORDER

                            Defendants.

       The parties filed a letter with the Court on April 5, 2016, requesting

entry of a stipulated confidentiality order. (Letter, Docket #12; Proposed

Order, Docket #13-1). The parties request that the Court enter such an order

so that they may avoid the public disclosure of confidential information and

documents. (Docket #13-1). Rule 26(c) allows for an order “requiring that a

trade secret or other confidential research, development, or commercial

information not be revealed or be revealed only in a specified way.” Fed. R.

Civ. P. 26(c)(1)(G), Civil L.R. 26(e).

       The Court sympathizes with the parties’ request and will grant it, but,

before doing so, must note the limits that apply to protective orders.

Protective orders are, in fact, an exception to the general rule that pretrial

discovery must occur in the public eye. American Telephone & Telegraph Co. v.

Grady, 594 F.2d 594, 596 (7th Cir. 1979); Fed. R. Civ. P. 26(c); see also Citizens

First Nat’l Bank of Princeton v. Cincinnati Ins. Co., 178 F.3d 943, 945–46 (7th Cir.

1999). Litigation must be “conducted in public to the maximum extent

consistent with respecting trade secrets…and other facts that should be held

in confidence.” Hicklin Eng’r, L.C. v. Bartell, 439 F.3d 346, 348 (7th Cir. 2006).
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       Nonetheless, the Court can enter a protective order if the parties have

shown good cause, and also that the order is narrowly tailored to serving

that cause. F.R.C.P. 26(c); see, e.g., Citizens First Nat’l Bank of Princeton, 178

F.3d at 945, Jepson, Inc. v. Makita Elec. Works, Ltd., 30 F.3d 854, 858 (7th Cir.

1994) (holding that, even when parties agree to the entry of a protective

order, they still must show the existence of good cause). The Court can even

find that broad, blanket orders—such as the one in this case—are narrowly

tailored and permissible, when it finds that two factors are satisfied:

       (1)     that the parties will act in good faith in designating the
               portions of the record that should be subject to the protective
               order; and

       (2)     that the order explicitly allows the parties to the case and other
               interested members of the public to challenge the sealing of
               documents.

Cty. Materials Corp. v. Allan Block Corp., 502 F.3d 730, 740 (7th Cir. 2006) (citing

Citizens First Nat’l Bank of Princeton, 178 F.3d 943, 945 (7th Cir. 1999)).

       The parties have requested the protective order in this case in good

faith. This case involves a substantial amount of City of Milwaukee records,

which may come from the Milwaukee Fire and Police Commission, the

Department of Employee Relations, and the Milwaukee Police Department.

(Docket #13-1 at 2). Such documents often include very sensitive material,

including: information that may personally identify individuals including

juveniles, confidential informants, family members of City of Milwaukee

employees, and victims of violence and sexual crimes; financial information;

health-care information; emergency contact information; statements made by

witnesses, complainants, and arrestees; and other personal information.

(Docket #13-1 at 1-2). In sum, many records involved in this case are




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hypersensitive, and the parties clearly seek the requested protective order in

good faith.

       The parties’ proposed protective order, however, appears overbroad.1

It provides that, if the parties need to file any such documentation with the

Court, they may do so by filing the documents with the Court under seal. In

other words, it appears that the parties wish to be able to seal—in their

entirety—any documents that contain sensitive information. This departs

from the Court’s desire to ensure that every phase of the trial occurs in the

public eye to the maximum extent possible. See Hicklin Eng’r, L.C., 439 F.3d

at 348. While the Court understands that some documents will need to be

sealed entirely, other documents may contain only small amounts of

confidential information, and so redaction of those documents may be more

appropriate.

       The Court, thus, has crafted its own protective order to enter in this

case. The Court’s protective order still allows the parties to file documents

under seal, but does not presume that every confidential document should

be filed under seal in its entirety. Rather, it contemplates that the parties will

use their judgment to determine the best way to protect confidential

information in submitted documents. The order also includes a provision

consistent with the Court’s and this district’s standard practice of allowing

any party and any interested members of the public to challenge the sealing

of documents. Finally, the Court’s order also includes directives on how the

parties should store the material and the purposes for which the material

may be used.



       1
        Some acceptable language appeared in the parties’ stipulation regarding
confidentiality (Docket #13), but not in their proposed order itself.

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       Finally, the Court must note that, while it finds the parties’ proposed

order to be permissible and will, therefore, enter it, the Court subscribes to

the view that the Court’s decision-making process must be transparent and

as publicly accessible as possible. Thus, the Court preemptively warns the

parties that it will not enter any decision under seal.

       Because the parties’ proposed protective order adequately complies

with the standards set forth above (after the Court’s minor changes), the

Court will enter an order based on the parties’ joint motion and proposed

order to the Court.

       Accordingly,

       Pursuant to the stipulation of the parties (Docket #13), the Court finds

that the exchange of sensitive information between the parties and/or third

parties other than in accordance with this Order may cause unnecessary

damage and injury to the parties and to others. The Court further finds that

the terms of this Order are fair and just and that good cause has been shown

for entry of this Order.

       IT IS THEREFORE ORDERED that, pursuant to Civil Local Rule

26(e) and Federal Rule of Civil Procedure 26(c)(1)(D),

       1.     The following documents are to be handled as confidential and

subject to this Protective Order:

              a.      personally-identifying information, including dates of
                      birth, social security numbers, home addresses, and
                      phone numbers;

              b.      information which can in any way identify a juvenile;

              c.      information which can in any way identify a
                      confidential informant;

              d.      financial information, including banking-related
                      account numbers, the identification of any financial


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                       institution along with any individual who maintains an
                       account with that institution; income tax information
                       and mortgage-related information;

                 e.    health-care-related information, including information
                       which is related to physical, psychological or general
                       medical care or treatment;

                 f.    emergency-contact information provided by employees,
                       persons arrested or in custody, complainants, or
                       witnesses;

                 g.    information which can in any way identify the spouse,
                       child(ren), or other family members of a City of
                       Milwaukee employee;

                 h.    information related to divorce or child custody
                       disputes; and

                 i.    information which can in any way identify the victim of
                       a sexual assault, attempted sexual assault, rape,
                       attempted rape or domestic violence.

       2.        Designation of confidential information must be made by

placing or affixing on the document, in a manner that will not interfere with

its legibility, the word “CONFIDENTIAL.” Counsel for the parties must keep

all documents designated as confidential that are received under this Rule

secure within their exclusive possession and must place such documents in

a secure area.

       3.        Documents designated as confidential must not be used or

disclosed by the parties or counsel for the parties or any persons identified

in paragraph (4) for any purposes whatsoever other than for preparing for

and conducting the litigation in which the documents were disclosed

(including appeals).

       4.        The parties and counsel for the parties must not disclose or

permit the disclosure of any documents or information designated as



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confidential under this rule to any other person or entity, except that

disclosures may be made in the following circumstances:

              a.     Disclosure may be made to employees of counsel for the
                     parties who have direct functional responsibility for the
                     preparation and trial of the lawsuit. Any such employee
                     to whom counsel for the parties makes a disclosure
                     must be advised of, and become subject to, the
                     provisions of this rule requiring that the documents and
                     information be held in confidence.

              b.     Disclosure may be made only to employees of a party
                     required in good faith to provide assistance in the
                     conduct of the litigation in which the information was
                     disclosed who are identified as such in writing to
                     counsel for the other parties in advance of the disclosure
                     of the confidential information.

              c.     Disclosure may be made to court reporters engaged for
                     depositions and those persons, if any, specifically
                     engaged for the limited purpose of making photocopies
                     of documents. Before disclosure to any such court
                     reporter or person engaged in making photocopies of
                     documents, such reporter or person must agree to be
                     bound by the terms of this Rule.

              d.     Disclosure may be made to consultants, investigators, or
                     experts (collectively “experts”) employed by the parties
                     or counsel for the parties to assist in the preparation and
                     trial of the lawsuit. Before disclosure to any expert, the
                     expert must be informed of and agree to be subject to
                     the provisions of this rule requiring that the documents
                     and information be held in confidence.

       5.     To the extent that any of the records referenced in paragraph

1 are filed with the Court, or are substantively incorporated in any papers to

be filed with the court, the records and papers must be redacted only to the

extent necessary. If the parties seek to seal a document, either in part or in

full, they must file a motion to seal that document, together with a redacted



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copy on the record. They must also simultaneously file unredacted copies

under seal with the Clerk of Court in an envelope marked “SEALED.” A

reference to this rule may also be made on the envelope. The parties shall act

in good faith in designating records to be filed, in whole or in part, under

seal.

        6.    A party or interested member of the public may challenge the

designation of confidentiality by motion. The movant must accompany such

a motion with the statement required by Civil L. R. 37. The party prevailing

on any such motion is entitled to recover as costs its actual attorney fees and

costs attributable to the motion.

        7.    At the conclusion of the litigation, all material not received in

evidence and treated as confidential under this Rule must be returned to

the originating party, or if the parties so stipulated, the material may be

destroyed.

        8.    After termination of this litigation, this Order shall continue

to be binding upon the parties hereto, and upon all parties to whom

confidential discovery material has been disclosed or communicated, and this

Court shall retain jurisdiction over the parties and such persons for the

enforcement of the provisions hereof.

        Dated at Milwaukee, Wisconsin, this 19th day of April, 2016.

                                      BY THE COURT:




                                      J.P. Stadtmueller
                                      U.S. District Judge




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